                           Case 1:21-cr-00495-ABJ Document 1 Filed 05/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                            UNITED STATES DISTRICT COURT
                                                                                    for the
                                                                          District of &ROXPELD

                    United States of America                                            )
                               v.                                                       )
                                                                                        )         Case No.
                         Daniel Paul Gray
                                                                                        )
                         DOB: XXXXXX                                                    )
                                                                                        )
                                                                                        )
                               Defendant(s)


                                                             CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                              January 6, 2021                          in the county of                                                 in the
                              LQWKH'LVWULFWRI             &ROXPELD , the defendant(s) violated:

              Code Section                                                                           Offense Description
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Knowingly Engages in Disorderly or Disruptive Conduct in Restricted Building or Grounds,
        18 U.S.C. § 1752(a)(4) - Knowingly Engages in any act of Physical Violence against any person or property in any Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D)- Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(F) - Engaging in an act of physical violence in the Grounds or any of the Capitol Buildings,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building,
        18 U.S.C. § 111(a)(1) - Forcibly assault, resist, oppose, impede, intimidate, or interfere with a designated person while that person is engaged in the
        performance of official duties,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder.

          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u    Continued on the attached sheet.


                                                                                                                            Complainant’s signature

                                                                                                                 Benjamin Fulp, Special Agent
                                                                                                                             Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                             Digitally
                                                                                                                                      signed by G.
              5/17/2021                                                                                                               Michael Harvey
Date:
                                                                                                                                Judge’s signature

City and state:                             :DVKLQJWRQ'&                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                                             Printed name and title
